                 Case 12-08679-CL11                              Filed 06/20/12                     Entered 06/20/12 09:23:02                                Doc 1         Pg. 1 of 51
B1 (Official Form 1)(12/11)
                                                  United States Bankruptcy Court
                                                       Southern District of California                                                                             Voluntary Petition
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 Name of Debtor (if individual, enter Last, First, Middle):                                                 Name of Joint Debtor (Spouse) (Last, First, Middle):
  Carmona, Hortensia


All Other Names used by the Debtor in the last 8 years                                                      All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                                 (include married, maiden, and trade names):




Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN                           Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
(if more than one, state all)                                                                               (if more than one, state all)
  xxx-xx-4214
Street Address of Debtor (No. and Street, City, and State):                                                 Street Address of Joint Debtor (No. and Street, City, and State):
  10707 Jamacha Blvd. Spc 204
  Spring Valley, CA
                                                                                           ZIP Code                                                                                        ZIP Code
                                                                                         91978
County of Residence or of the Principal Place of Business:                                                  County of Residence or of the Principal Place of Business:
  San Diego
Mailing Address of Debtor (if different from street address):                                               Mailing Address of Joint Debtor (if different from street address):
  P.O. Box 62932
  Los Angeles, CA
                                                                                           ZIP Code                                                                                        ZIP Code
                                                                                         90062
Location of Principal Assets of Business Debtor
(if different from street address above):


                       Type of Debtor                                       Nature of Business                                              Chapter of Bankruptcy Code Under Which
          (Form of Organization) (Check one box)                               (Check one box)                                                 the Petition is Filed (Check one box)
     Individual (includes Joint Debtors)                            Health Care Business                                    Chapter 7
     See Exhibit D on page 2 of this form.                          Single Asset Real Estate as defined                                                     Chapter 15 Petition for Recognition
                                                                                                                            Chapter 9
     Corporation (includes LLC and LLP)                             in 11 U.S.C. § 101 (51B)                                                                of a Foreign Main Proceeding
                                                                                                                            Chapter 11
     Partnership                                                    Railroad
                                                                                                                            Chapter 12                      Chapter 15 Petition for Recognition
     Other (If debtor is not one of the above entities,             Stockbroker
                                                                                                                            Chapter 13                      of a Foreign Nonmain Proceeding
     check this box and state type of entity below.)                Commodity Broker
                                                                    Clearing Bank
                                                                    Other                                                                               Nature of Debts
                   Chapter 15 Debtors
                                                                           Tax-Exempt Entity                                                             (Check one box)
 Country of debtor's center of main interests:
                                                                          (Check box, if applicable)                       Debts are primarily consumer debts,                 Debts are primarily
                                                                    Debtor is a tax-exempt organization                    defined in 11 U.S.C. § 101(8) as                    business debts.
 Each country in which a foreign proceeding
 by, regarding, or against debtor is pending:                       under Title 26 of the United States                    "incurred by an individual primarily for
                                                                    Code (the Internal Revenue Code).                      a personal, family, or household purpose."

                                Filing Fee (Check one box)                                    Check one box:                          Chapter 11 Debtors
     Full Filing Fee attached                                                                      Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                   Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
     Filing Fee to be paid in installments (applicable to individuals only). Must             Check if:
     attach signed application for the court's consideration certifying that the
                                                                                                   Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
     debtor is unable to pay fee except in installments. Rule 1006(b). See Official
                                                                                                   are less than $2,343,300 (amount subject to adjustment on 4/01/13 and every three years thereafter).
     Form 3A.
                                                                                              Check all applicable boxes:
     Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                  A plan is being filed with this petition.
     attach signed application for the court's consideration. See Official Form 3B.
                                                                                                   Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                                                                   in accordance with 11 U.S.C. § 1126(b).
Statistical/Administrative Information                                                                                                                    THIS SPACE IS FOR COURT USE ONLY
   Debtor estimates that funds will be available for distribution to unsecured creditors.
   Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
   there will be no funds available for distribution to unsecured creditors.
Estimated Number of Creditors

     1-              50-            100-           200-       1,000-        5,001-        10,001-       25,001-       50,001-          OVER
     49              99             199            999        5,000        10,000         25,000        50,000        100,000         100,000

Estimated Assets

     $0 to           $50,001 to     $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                   million    million      million        million       million
Estimated Liabilities

     $0 to           $50,001 to     $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                   million    million      million        million       million
             Case 12-08679-CL11                     Filed 06/20/12            Entered 06/20/12 09:23:02                            Doc 1           Pg. 2 of 51
B1 (Official Form 1)(12/11)                                                                                                                                                Page 2
                                                                                     Name of Debtor(s):
Voluntary Petition                                                                     Carmona, Hortensia
(This page must be completed and filed in every case)
                      All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
Location                                                           Case Number:                         Date Filed:
Where Filed: Central District                                       2:11-bk-35036-SK                      6/09/11
Location                                                                             Case Number:                                   Date Filed:
Where Filed:
          Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor:                                                     Case Number:                          Date Filed:
 - None -
District:                                                                            Relationship:                                  Judge:

                                     Exhibit A                                                                                 Exhibit B
                                                                                        (To be completed if debtor is an individual whose debts are primarily consumer debts.)
  (To be completed if debtor is required to file periodic reports (e.g.,               I, the attorney for the petitioner named in the foregoing petition, declare that I
  forms 10K and 10Q) with the Securities and Exchange Commission                       have informed the petitioner that [he or she] may proceed under chapter 7, 11,
  pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934               12, or 13 of title 11, United States Code, and have explained the relief available
  and is requesting relief under chapter 11.)                                          under each such chapter. I further certify that I delivered to the debtor the notice
                                                                                       required by 11 U.S.C. §342(b).

       Exhibit A is attached and made a part of this petition.                         X     /s/ Andrew H. Griffin, III                               June 20, 2012
                                                                                           Signature of Attorney for Debtor(s)                     (Date)
                                                                                             Andrew H. Griffin, III 108378

                                                                               Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
       Yes, and Exhibit C is attached and made a part of this petition.
       No.

                                                                          Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
       Exhibit D completed and signed by the debtor is attached and made a part of this petition.
 If this is a joint petition:
       Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                     Information Regarding the Debtor - Venue
                                                               (Check any applicable box)
                   Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180
                   days immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.
                   There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
                   Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in
                   this District, or has no principal place of business or assets in the United States but is a defendant in an action or
                   proceeding [in a federal or state court] in this District, or the interests of the parties will be served in regard to the relief
                   sought in this District.
                                       Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                               (Check all applicable boxes)
                   Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                     (Name of landlord that obtained judgment)




                                     (Address of landlord)

                   Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
                   the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                   Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period
                   after the filing of the petition.
                   Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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B1 (Official Form 1)(12/11)                                                                                                                                             Page 3
                                                                                           Name of Debtor(s):
Voluntary Petition                                                                           Carmona, Hortensia
(This page must be completed and filed in every case)
                                                                                    Signatures
                  Signature(s) of Debtor(s) (Individual/Joint)                                               Signature of a Foreign Representative
     I declare under penalty of perjury that the information provided in this               I declare under penalty of perjury that the information provided in this petition
     petition is true and correct.                                                          is true and correct, that I am the foreign representative of a debtor in a foreign
     [If petitioner is an individual whose debts are primarily consumer debts and           proceeding, and that I am authorized to file this petition.
     has chosen to file under chapter 7] I am aware that I may proceed under
                                                                                            (Check only one box.)
     chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief
     available under each such chapter, and choose to proceed under chapter 7.                  I request relief in accordance with chapter 15 of title 11. United States Code.
     [If no attorney represents me and no bankruptcy petition preparer signs the                Certified copies of the documents required by 11 U.S.C. §1515 are attached.
     petition] I have obtained and read the notice required by 11 U.S.C. §342(b).
                                                                                                Pursuant to 11 U.S.C. §1511, I request relief in accordance with the chapter
     I request relief in accordance with the chapter of title 11, United States Code,           of title 11 specified in this petition. A certified copy of the order granting
     specified in this petition.                                                                recognition of the foreign main proceeding is attached.


      /s/ Hortensia Carmona                                                                X
 X                                                                                             Signature of Foreign Representative
     Signature of Debtor Hortensia Carmona

 X                                                                                             Printed Name of Foreign Representative
     Signature of Joint Debtor
                                                                                               Date
     Telephone Number (If not represented by attorney)                                            Signature of Non-Attorney Bankruptcy Petition Preparer
     June 20, 2012
                                                                                               I declare under penalty of perjury that: (1) I am a bankruptcy petition
     Date                                                                                      preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                               compensation and have provided the debtor with a copy of this document
                              Signature of Attorney*                                           and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                               110(h), and 342(b); and, (3) if rules or guidelines have been promulgated
                                                                                               pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
 X    /s/ Andrew H. Griffin, III
                                                                                               chargeable by bankruptcy petition preparers, I have given the debtor notice
     Signature of Attorney for Debtor(s)                                                       of the maximum amount before preparing any document for filing for a
      Andrew H. Griffin, III 108378                                                            debtor or accepting any fee from the debtor, as required in that section.
                                                                                               Official Form 19 is attached.
     Printed Name of Attorney for Debtor(s)
      Law Office of Andrew H. Griffin, III
                                                                                               Printed Name and title, if any, of Bankruptcy Petition Preparer
     Firm Name
      275 E. Douglas Ave. Ste. 112
      El Cajon, CA 92020                                                                       Social-Security number (If the bankrutpcy petition preparer is not
                                                                                               an individual, state the Social Security number of the officer,
                                                                                               principal, responsible person or partner of the bankruptcy petition
     Address                                                                                   preparer.)(Required by 11 U.S.C. § 110.)

                              Email: Griffinlaw@mac.com
      619 440-5000 Fax: 619 440-5991
     Telephone Number
     June 20, 2012
                                                                                               Address
     Date
     *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
     certification that the attorney has no knowledge after an inquiry that the            X
     information in the schedules is incorrect.
                                                                                               Date
                Signature of Debtor (Corporation/Partnership)
                                                                                               Signature of bankruptcy petition preparer or officer, principal, responsible
     I declare under penalty of perjury that the information provided in this                  person,or partner whose Social Security number is provided above.
     petition is true and correct, and that I have been authorized to file this petition
     on behalf of the debtor.                                                                  Names and Social-Security numbers of all other individuals who prepared or
                                                                                               assisted in preparing this document unless the bankruptcy petition preparer is
     The debtor requests relief in accordance with the chapter of title 11, United             not an individual:
     States Code, specified in this petition.

 X
     Signature of Authorized Individual
                                                                                               If more than one person prepared this document, attach additional sheets
                                                                                               conforming to the appropriate official form for each person.
     Printed Name of Authorized Individual
                                                                                               A bankruptcy petition preparer’s failure to comply with the provisions of
                                                                                               title 11 and the Federal Rules of Bankruptcy Procedure may result in
     Title of Authorized Individual                                                            fines or imprisonment or both. 11 U.S.C. §110; 18 U.S.C. §156.

     Date
          Case 12-08679-CL11                       Filed 06/20/12        Entered 06/20/12 09:23:02      Doc 1    Pg. 4 of 51




B 1D (Official Form 1, Exhibit D) (12/09)
                                                          United States Bankruptcy Court
                                                               Southern District of California
 In re     Hortensia Carmona                                                                     Case No.
                                                                             Debtor(s)           Chapter    11




                 EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                 CREDIT COUNSELING REQUIREMENT
       Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collection activities.
        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.
           1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have
a certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy
of any debt repayment plan developed through the agency.
           2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do
not have a certificate from the agency describing the services provided to me. You must file a copy of a
certificate from the agency describing the services provided to you and a copy of any debt repayment plan
developed through the agency no later than 14 days after your bankruptcy case is filed.
          3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the seven days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Summarize exigent circumstances here.]
       If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the
agency that provided the counseling, together with a copy of any debt management plan developed
through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days.
Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy
case without first receiving a credit counseling briefing.
          4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
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           Case 12-08679-CL11                          Filed 06/20/12            Entered 06/20/12 09:23:02   Doc 1   Pg. 5 of 51




B 1D (Official Form 1, Exhibit D) (12/09) - Cont.                                                                                   Page 2

                       Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or
            mental deficiency so as to be incapable of realizing and making rational decisions with respect to
            financial responsibilities.);
                       Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
            unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
            through the Internet.);
                       Active military duty in a military combat zone.
         5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.
            I certify under penalty of perjury that the information provided above is true and correct.

                                                  Signature of Debtor:            /s/ Hortensia Carmona
                                                                                  Hortensia Carmona
                                                  Date:          June 20, 2012




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B4 (Official Form 4) (12/07)
                                                          United States Bankruptcy Court
                                                               Southern District of California
 In re     Hortensia Carmona                                                                               Case No.
                                                                             Debtor(s)                     Chapter        11


                         LIST OF CREDITORS HOLDING 20 LARGEST UNSECURED CLAIMS
                     Following is the list of the debtor's creditors holding the 20 largest unsecured claims. The list is prepared in
           accordance with Fed. R. Bankr. P. 1007(d) for filing in this chapter 11 [or chapter 9] case. The list does not include (1)
           persons who come within the definition of "insider" set forth in 11 U.S.C. § 101, or (2) secured creditors unless the value of
           the collateral is such that the unsecured deficiency places the creditor among the holders of the 20 largest unsecured claims.
           If a minor child is one of the creditors holding the 20 largest unsecured claims, state the child's initials and the name and
           address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's
           name. See 11 U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

                   (1)                                             (2)                            (3)                     (4)                   (5)

Name of creditor and complete             Name, telephone number and complete            Nature of claim (trade   Indicate if claim is   Amount of claim
mailing address including zip             mailing address, including zip code, of        debt, bank loan,         contingent,            [if secured, also
code                                      employee, agent, or department of creditor     government contract,     unliquidated,          state value of
                                          familiar with claim who may be contacted       etc.)                    disputed, or           security]
                                                                                                                  subject to setoff
American Express                          American Express                               credit card                                     967.00
P.O. Box 981537                           P.O. Box 981537
El Paso, TX 79998                         El Paso, TX 79998
Asset Acceptance Llc                      Asset Acceptance Llc                           Credit Card              Disputed               117.00
P.O. Box 2036                             P.O. Box 2036
Warren, IL 48090-2036                     Warren, IL 48090-2036
Bank of America Home                      Bank of America Home Loans                     Single Family                                   404,226.00
Loans                                     P.O Box 941633                                 Residence
P.O Box 941633                            Simi Valley, CA 93094-1633                     20525 Kenwood                                   (270,000.00
Simi Valley, CA 93094-1633                                                               Avenue                                          secured)
                                                                                         Torrance, CA
                                                                                         90502
Bank of America Home                      Bank of America Home Loans                     9857-9859 Arabian                               99,945.72
Loans                                     P.O Box 941633                                 Nights
P.O Box 941633                            Simi Valley, CA 93094-1633                     El Paso, TX 79924                               (80,000.00
Simi Valley, CA 93094-1633                                                                                                               secured)
Bank of America Home                      Bank of America Home Loans                     9853-9855 Arabian                               98,841.00
Loans                                     P.O Box 941633                                 Nights
P.O Box 941633                            Simi Valley, CA 93094-1633                     El Paso, TX 79924                               (80,000.00
Simi Valley, CA 93094-1633                                                                                                               secured)
Chase Bank                                Chase Bank                                     Credit Card                                     4,300.00
P.O. Box 15298                            P.O. Box 15298
Wilmington, DE 19850                      Wilmington, DE 19850
Creditors Bankruptcy                      Creditors Bankruptcy                           Collections for                                 663.00
P.O. Box 740933                           P.O. Box 740933                                Captial One, N.A.
Dallas, TX 75374                          Dallas, TX 75374
Discovery Bank                            Discovery Bank                                 Credit Card              Disputed               450.00
DB Servicing Corporation                  DB Servicing Corporation
P.O. Box 3025                             P.O. Box 3025
New Albany, OH 43054-3025                 New Albany, OH 43054-3025




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B4 (Official Form 4) (12/07) - Cont.
In re      Hortensia Carmona                                                                        Case No.
                                                         Debtor(s)

                         LIST OF CREDITORS HOLDING 20 LARGEST UNSECURED CLAIMS
                                                                         (Continuation Sheet)

                   (1)                                             (2)                             (3)                     (4)                   (5)

Name of creditor and complete             Name, telephone number and complete             Nature of claim (trade   Indicate if claim is   Amount of claim
mailing address including zip             mailing address, including zip code, of         debt, bank loan,         contingent,            [if secured, also
code                                      employee, agent, or department of creditor      government contract,     unliquidated,          state value of
                                          familiar with claim who may be contacted        etc.)                    disputed, or           security]
                                                                                                                   subject to setoff
Fraces Hornback                           Fraces Hornback                                 10117,10121, 10123                              300,000.00
18809 Pepperdine Drive                    18809 Pepperdine Drive                          S. Main St.
Carson, CA 90746                          Carson, CA 90746                                Los Angeles, CA                                 (220,000.00
                                                                                          90003                                           secured)
                                                                                          Triplex Commercial
                                                                                          building:
                                                                                          in the name of
                                                                                          Worldwide
                                                                                          Ballistic, Inc.,
                                                                                          Ramon Carmona,
                                                                                          Amador
Kohl's                                    Kohl's                                          Credit Card                                     691.00
P.O. Box 30510                            P.O. Box 30510
Los Angeles, CA 90030                     Los Angeles, CA 90030
M&T Bank                                  M&T Bank                                        Commercial                                      205,000.00
P.O. Box 1288                             P.O. Box 1288                                   Property located
Buffalo, NY 14240-1288                    Buffalo, NY 14240-1288                          at:                                             (170,000.00
                                                                                          10113, 10113 1/2 ,                              secured)
                                                                                          10115 S. Main
                                                                                          Street
                                                                                          Los Angeles, CA
                                                                                          90003
Macy's                                    Macy's                                          Credit Card                                     2,817.00
P.O. Box 8217                             P.O. Box 8217
Mason, OH 45040                           Mason, OH 45040
One West Bank                             One West Bank                                   881 E. 41st Street                              499,642.00
6900 Beatrice Drive                       6900 Beatrice Drive                             Los Angeles, CA
Kalamazoo, MI 49009                       Kalamazoo, MI 49009                             90011                                           (290,000.00
                                                                                          Fourplex                                        secured)
Target National Bank                      Target National Bank                            Credit Card                                     93.00
c/o Weinstein & Riley PS                  c/o Weinstein & Riley PS
2001 Western Avenue, #400                 2001 Western Avenue, #400
Seattle, WA 98121                         Seattle, WA 98121
Wells Fargo Bank                          Wells Fargo Bank                                Credit Card                                     6,826.00
c/o/ Recovery Dept.                       c/o/ Recovery Dept.
P.O. Box 9210                             P.O. Box 9210
Des Moines, IA 50306                      Des Moines, IA 50306
Wells Fargo Home Mortgage                 Wells Fargo Home Mortgage                       1503 N. Frances                                 47,994.00
P.O. Box 10335                            P.O. Box 10335                                  Street
Des Moines, IA 50306                      Des Moines, IA 50306                            Terrell, TX 75160                               (25,000.00
                                                                                                                                          secured)




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B4 (Official Form 4) (12/07) - Cont.
In re      Hortensia Carmona                                                                          Case No.
                                                         Debtor(s)

                         LIST OF CREDITORS HOLDING 20 LARGEST UNSECURED CLAIMS
                                                                         (Continuation Sheet)

                   (1)                                             (2)                               (3)                     (4)                   (5)

Name of creditor and complete             Name, telephone number and complete               Nature of claim (trade   Indicate if claim is   Amount of claim
mailing address including zip             mailing address, including zip code, of           debt, bank loan,         contingent,            [if secured, also
code                                      employee, agent, or department of creditor        government contract,     unliquidated,          state value of
                                          familiar with claim who may be contacted          etc.)                    disputed, or           security]
                                                                                                                     subject to setoff



                                       DECLARATION UNDER PENALTY OF PERJURY
                                     ON BEHALF OF A CORPORATION OR PARTNERSHIP
                   I, Hortensia Carmona, the debtor in this case, declare under penalty of perjury that I have read the
           foregoing list and that it is true and correct to the best of my information and belief.


Date June 20, 2012                                                     Signature   /s/ Hortensia Carmona
                                                                                   Hortensia Carmona
                                                                                   Debtor

    Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                     18 U.S.C. §§ 152 and 3571.




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B6 Summary (Official Form 6 - Summary) (12/07)


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                                                           United States Bankruptcy Court
                                                                Southern District of California
 In re          Hortensia Carmona                                                                             Case No.
                                                                                                       ,
                                                                                      Debtor
                                                                                                              Chapter                    11




                                                               SUMMARY OF SCHEDULES
    Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
    B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
    Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
    also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




             NAME OF SCHEDULE                         ATTACHED           NO. OF           ASSETS                 LIABILITIES              OTHER
                                                       (YES/NO)          SHEETS

A - Real Property                                         Yes             2                    1,111,300.00


B - Personal Property                                     Yes             3                     239,336.50


C - Property Claimed as Exempt                            Yes             1


D - Creditors Holding Secured Claims                      Yes             3                                         1,680,278.72


E - Creditors Holding Unsecured                           Yes             1                                                   0.00
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                           Yes             3                                              16,924.00
    Nonpriority Claims

G - Executory Contracts and                               Yes             2
   Unexpired Leases

H - Codebtors                                             Yes             1


I - Current Income of Individual                          Yes             1                                                                       19,239.17
    Debtor(s)

J - Current Expenditures of Individual                    Yes             2                                                                       17,988.99
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                19


                                                                    Total Assets               1,350,636.50


                                                                                        Total Liabilities           1,697,202.72




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Form 6 - Statistical Summary (12/07)


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                                                           United States Bankruptcy Court
                                                                Southern District of California
 In re           Hortensia Carmona                                                                               Case No.
                                                                                                         ,
                                                                                       Debtor
                                                                                                                 Chapter                   11


              STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
         If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
         a case under chapter 7, 11 or 13, you must report all information requested below.

                  Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                  report any information here.

         This information is for statistical purposes only under 28 U.S.C. § 159.
         Summarize the following types of liabilities, as reported in the Schedules, and total them.


             Type of Liability                                                                  Amount

             Domestic Support Obligations (from Schedule E)                                                   0.00

             Taxes and Certain Other Debts Owed to Governmental Units
             (from Schedule E)
                                                                                                              0.00

             Claims for Death or Personal Injury While Debtor Was Intoxicated
             (from Schedule E) (whether disputed or undisputed)
                                                                                                              0.00

             Student Loan Obligations (from Schedule F)                                                       0.00

             Domestic Support, Separation Agreement, and Divorce Decree
             Obligations Not Reported on Schedule E
                                                                                                              0.00

             Obligations to Pension or Profit-Sharing, and Other Similar Obligations
             (from Schedule F)
                                                                                                              0.00

                                                                            TOTAL                             0.00


             State the following:

             Average Income (from Schedule I, Line 16)                                                   19,239.17

             Average Expenses (from Schedule J, Line 18)                                                 17,988.99

             Current Monthly Income (from Form 22A Line 12; OR,
             Form 22B Line 11; OR, Form 22C Line 20 )                                                    13,467.17


             State the following:
             1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                 column
                                                                                                                               500,648.72

             2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                 column
                                                                                                              0.00

             3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                 PRIORITY, IF ANY" column
                                                                                                                                         0.00

             4. Total from Schedule F                                                                                           16,924.00

             5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                      517,572.72




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B6A (Official Form 6A) (12/07)


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 In re         Hortensia Carmona                                                                          Case No.
                                                                                                 ,
                                                                                   Debtor

                                                         SCHEDULE A - REAL PROPERTY
        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."
        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                                 Husband,    Current Value of
                                                                         Nature of Debtor's       Wife,     Debtor's Interest in            Amount of
               Description and Location of Property                      Interest in Property     Joint, or  Property, without             Secured Claim
                                                                                                Community Deducting  any Secured
                                                                                                            Claim or Exemption

Single Family Residence                                                  Fee simple                  -                 270,000.00                 404,226.00
20525 Kenwood Avenue
Torrance, CA 90502

881 E. 41st Street                                                       Fee simple                  -                 290,000.00                 499,642.00
Los Angeles, CA 90011
Fourplex

Commercial Property located at:                                          Fee simple                  -                 170,000.00                 205,000.00
10113, 10113 1/2 , 10115 S. Main Street
Los Angeles, CA 90003

1503 N. Frances Street                                                   Fee simple                  -                   25,000.00                 47,994.00
Terrell, TX 75160

9853-9855 Arabian Nights                                                 Fee simple                  -                   80,000.00                109,491.00
El Paso, TX 79924

9857-9859 Arabian Nights                                                 Fee simple                  -                   80,000.00                107,925.72
El Paso, TX 79924

Vacant Land                                                              Fee simple                  -                   13,500.00                         0.00
Lot 13 of Duchesne Mini Ranch , Utah 84021
Phase 3, 2.5 acres Fully paid

10117,10121, 10123 S. Main St.                                           Tenant in common            -                   72,600.00                300,000.00
Los Angeles, CA 90003
Triplex Commercial building:
in the name of Worldwide Ballistic, Inc., Ramon
Carmona, Amador Carmona

lot #1-343 Cygnus Ave. Ocean Shore ,Washington                           Tenant in common            -                   13,000.00                         0.00
98569
in the name of Worldwide Ballistic, Inc. 100% owner
(Company) Fully paid




                                                                                                 Sub-Total >        1,014,100.00           (Total of this page)


  1    continuation sheets attached to the Schedule of Real Property

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B6A (Official Form 6A) (12/07) - Cont.




 In re         Hortensia Carmona                                                                              Case No.
                                                                                                  ,
                                                                                   Debtor

                                                         SCHEDULE A - REAL PROPERTY
                                                                          (Continuation Sheet)




                                                                                                  Husband,    Current Value of
                                                                         Nature of Debtor's        Wife      Debtor's Interest in           Amount of
               Description and Location of Property                      Interest in Property      Joint, or  Property, without            Secured Claim
                                                                                                 Community Deducting  any Secured
                                                                                                             Claim or Exemption

Lot #2-343 Cygnus Ave. Ocean Shore, Washington                           Tenant in common             -                  13,000.00                         0.00
98569
in the name of Worldwide Ballistic, Inc. 100% owner
(Company) Fully paid

Vacant land in Mexico #1                                                 Joint tenant                 -                   7,000.00                         0.00
de Lote 9 Manzana 11 Valleds Del Mar, Rosarito,
BC (Mexico) Fully paid

Vacant Land #2-                                                          Joint tenant                 -                   7,000.00                         0.00
de Lote 8 Manzana 11 Valles de Mar, Rosarito, BC
(Mexico) Fully paid

Vacant Land #3- Mexico                                                   Joint tenant                 -                  12,000.00                   6,000.00
de Lote 30 Manzana Punta Azul, Rosarito, BC
(Mexico)

Calle 20 de Noviembre # 18, Ciudad Hidalgo House                         Fee simple                   -                  39,000.00                         0.00
and Lot in Michoacan, Mexico Fully paid

Calle Reforma #58, Ciudad Hidalgo House and Lot                          Fee simple                   -                  18,000.00                         0.00
in Michoacan, Mexico Fully paid

Vacant Raw Land in Michoacan, Mexico Fully paid                          Joint tenant                 -                   1,200.00                         0.00




                                                                                                  Sub-Total >            97,200.00        (Total of this page)

                                                                                                          Total >    1,111,300.00
Sheet    1     of    1     continuation sheets attached to the Schedule of Real Property
                                                                                                  (Report also on Summary of Schedules)
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B6B (Official Form 6B) (12/07)


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 In re         Hortensia Carmona                                                                                 Case No.
                                                                                                     ,
                                                                                    Debtor

                                                    SCHEDULE B - PERSONAL PROPERTY
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

1.    Cash on hand                                    X

2.    Checking, savings or other financial                Kenecta Checking                                                  -                        5,000.00
      accounts, certificates of deposit, or
      shares in banks, savings and loan,                  Kinecta Share Savings                                             -                           303.00
      thrift, building and loan, and
      homestead associations, or credit                   Kaiser Fedral Bank checking                                       -                           500.00
      unions, brokerage houses, or
      cooperatives.                                       Union Bank Checking                                               -                        5,000.00

                                                          Union Bank parents account                                        -                           300.00

3.    Security deposits with public                   X
      utilities, telephone companies,
      landlords, and others.

4.    Household goods and furnishings,                    Household furniture, appliances and furishings at                 -                        5,000.00
      including audio, video, and                         10707 Jamacha Blvd. Spc 204, Spring Valley, Spring
      computer equipment.                                 Valley, CA 91978

5.    Books, pictures and other art                   X
      objects, antiques, stamp, coin,
      record, tape, compact disc, and
      other collections or collectibles.

6.    Wearing apparel.                                    Clothing: Shoes, dresses, uniforms, pants, blouses,               -                           800.00
                                                          coats

7.    Furs and jewelry.                                   Miscellaneous Jewelry                                             -                           500.00

8.    Firearms and sports, photographic,              X
      and other hobby equipment.

9.    Interests in insurance policies.                X
      Name insurance company of each
      policy and itemize surrender or
      refund value of each.

10. Annuities. Itemize and name each                  X
    issuer.


                                                                                                                            Sub-Total >          17,403.00
                                                                                                                (Total of this page)

  2    continuation sheets attached to the Schedule of Personal Property

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B6B (Official Form 6B) (12/07) - Cont.




 In re         Hortensia Carmona                                                                                 Case No.
                                                                                                     ,
                                                                                    Debtor

                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                           (Continuation Sheet)

                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

11. Interests in an education IRA as                      Educational IRA for daughter                                      -                        4,000.00
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or                    IRA                                                               -                      27,000.00
    other pension or profit sharing
    plans. Give particulars.                              401k through employer                                             -                     128,000.00

13. Stock and interests in incorporated                   100% interest in Worldwide Ballistics, Inc.                       -                              0.00
    and unincorporated businesses.
    Itemize.

14. Interests in partnerships or joint                X
    ventures. Itemize.

15. Government and corporate bonds                    X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                                  Roger Stacy of The Solutions Law Center, APC                      -                      28,998.00

17. Alimony, maintenance, support, and                X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

18. Other liquidated debts owed to debtor X
    including tax refunds. Give particulars.


19. Equitable or future interests, life               X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent                      X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.

21. Other contingent and unliquidated                     Judgment against former tenant 50% for the                        -                        7,119.00
    claims of every nature, including                     collection company
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.                  2011 Tax refund                                                   -                      12,978.00
    Give estimated value of each.


                                                                                                                            Sub-Total >        208,095.00
                                                                                                                (Total of this page)

Sheet 1 of 2          continuation sheets attached
to the Schedule of Personal Property

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B6B (Official Form 6B) (12/07) - Cont.




 In re         Hortensia Carmona                                                                                 Case No.
                                                                                                     ,
                                                                                    Debtor

                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                           (Continuation Sheet)

                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

22. Patents, copyrights, and other                    X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                       Mammographc _Radiologic Technologist, CRT,                         -                             0.00
    general intangibles. Give                             ARRT
    particulars.                                          Radiologic Techonlogist Fluroscopy Permit
                                                          X-Ray Techician
                                                          ARDMS

24. Customer lists or other compilations              X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                    2002- Mercedes-Benz C320 (80,000 miles/fair                        -                       8,195.00
    other vehicles and accessories.                       condition)

                                                          2000 Honda Civic (115,000 miles/ fair condition)                   -                       2,643.50
                                                          50% is owned by Ricardo Guerrero

26. Boats, motors, and accessories.                   X

27. Aircraft and accessories.                         X

28. Office equipment, furnishings, and                    Printer, Scanner, Computer and Fax                                 -                       3,000.00
    supplies.

29. Machinery, fixtures, equipment, and               X
    supplies used in business.

30. Inventory.                                        X

31. Animals.                                          X

32. Crops - growing or harvested. Give                X
    particulars.

33. Farming equipment and                             X
    implements.

34. Farm supplies, chemicals, and feed.               X

35. Other personal property of any kind               X
    not already listed. Itemize.


                                                                                                                            Sub-Total >          13,838.50
                                                                                                                (Total of this page)
                                                                                                                                 Total >       239,336.50
Sheet 2 of 2          continuation sheets attached
to the Schedule of Personal Property                                                                                        (Report also on Summary of Schedules)
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 B6C (Official Form 6C) (4/10)


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  In re         Hortensia Carmona                                                                                       Case No.
                                                                                                            ,
                                                                                        Debtor

                                         SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
 Debtor claims the exemptions to which debtor is entitled under:                                   Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                   $146,450. (Amount subject to adjustment on 4/1/13, and every three years thereafter
    11 U.S.C. §522(b)(2)                                                                                        with respect to cases commenced on or after the date of adjustment.)
    11 U.S.C. §522(b)(3)

                                                                                Specify Law Providing                          Value of                 Current Value of
                  Description of Property                                          Each Exemption                              Claimed                  Property Without
                                                                                                                              Exemption               Deducting Exemption
Checking, Savings, or Other Financial Accounts, Certificates of Deposit
Kenecta Checking                                  C.C.P. § 703.140(b)(5)                                                                    0.00                       5,000.00

Kinecta Share Savings                                                     C.C.P. § 703.140(b)(5)                                        303.00                           303.00

Kaiser Fedral Bank checking                                               C.C.P. § 703.140(b)(5)                                        500.00                           500.00

Union Bank Checking                                                       C.C.P. § 703.140(b)(5)                                    19,000.00                          5,000.00

Household Goods and Furnishings
Household furniture, appliances and furishings                            C.C.P. § 703.140(b)(3)                                      5,000.00                         5,000.00
at 10707 Jamacha Blvd. Spc 204, Spring Valley,
Spring Valley, CA 91978

Wearing Apparel
Clothing: Shoes, dresses, uniforms, pants,                                C.C.P. § 703.140(b)(3)                                        500.00                           800.00
blouses, coats

Furs and Jewelry
Miscellaneous Jewelry                                                     C.C.P. § 703.140(b)(4)                                        500.00                           500.00

Interests in an Education IRA or under a Qualified State Tuition Plan
Educational IRA for daughter                        C.C.P. § 703.140(b)(5)                                                              547.00                         4,000.00

Interests in IRA, ERISA, Keogh, or Other Pension or Profit Sharing Plans
IRA                                                 C.C.P. § 703.140(b)(10)(E)                                                      27,000.00                        27,000.00

401k through employer                                                     C.C.P. § 703.140(b)(10)(E)                              128,000.00                       128,000.00

Other Contingent and Unliquidated Claims of Every Nature
Judgment against former tenant 50% for the        C.C.P. § 703.140(b)(5)                                                                    0.00                       7,119.00
collection company

Other Exemptions
Kinecta Checking #2485                                                    C.C.P. § 703.140(b)(5)                                      2,900.00                         2,900.00




                                                                                                            Total:                 184,250.00                       186,122.00
    0     continuation sheets attached to Schedule of Property Claimed as Exempt
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 B6D (Official Form 6D) (12/07)


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  In re         Hortensia Carmona                                                                                          Case No.
                                                                                                              ,
                                                                                             Debtor

                                  SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                        C   Husband, Wife, Joint, or Community                         C    U   D     AMOUNT OF
             CREDITOR'S NAME                            O                                                              O    N   I
                                                        D   H             DATE CLAIM WAS INCURRED,                     N    L   S        CLAIM
          AND MAILING ADDRESS                           E                                                              T    I   P       WITHOUT              UNSECURED
           INCLUDING ZIP CODE,                          B   W               NATURE OF LIEN, AND                        I    Q   U                            PORTION, IF
                                                        T   J              DESCRIPTION AND VALUE                       N    U   T
                                                                                                                                       DEDUCTING
          AND ACCOUNT NUMBER                            O                                                              G    I   E       VALUE OF                ANY
            (See instructions above.)
                                                            C                   OF PROPERTY
                                                        R
                                                                               SUBJECT TO LIEN
                                                                                                                       E    D   D     COLLATERAL
                                                                                                                       N    A
                                                                                                                       T    T
Account No. 1276                                                2007                                                        E
                                                                                                                            D

Bank of America Home Loans                                      First Mortgage
P.O Box 941633
                                                              Single Family Residence
Simi Valley, CA 93094-1633
                                                            - 20525 Kenwood Avenue
                                                              Torrance, CA 90502
                                                                Value $                               270,000.00                        404,226.00               114,226.00
Account No. 3228                                                12/2006

Bank of America Home Loans                                      Second Mortgage
P.O Box 941633
Simi Valley, CA 93094-1633                                    9853-9855 Arabian Nights
                                                            - El Paso, TX 79924

                                                                Value $                                80,000.00                          10,650.00                        0.00
Account No. 1931                                                2006

Bank of America Home Loans                                      First Mortgage
P.O Box 941633
Simi Valley, CA 93094-1633                                    9857-9859 Arabian Nights
                                                            - El Paso, TX 79924

                                                                Value $                                80,000.00                          99,945.72                19,945.72
Account No. 3436                                                12/2006

Bank of America Home Loans                                      Second Mortgage
P.O Box 941633
Simi Valley, CA 93094-1633                                    9857-9859 Arabian Nights
                                                            - El Paso, TX 79924

                                                                Value $                                80,000.00                            7,980.00                       0.00
                                                                                                                    Subtotal
 2
_____ continuation sheets attached                                                                                                      522,801.72               134,171.72
                                                                                                           (Total of this page)




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             Case 12-08679-CL11                        Filed 06/20/12                Entered 06/20/12 09:23:02                      Doc 1     Pg. 18 of 51

 B6D (Official Form 6D) (12/07) - Cont.




  In re         Hortensia Carmona                                                                                          Case No.
                                                                                                              ,
                                                                                             Debtor


                                 SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                 (Continuation Sheet)

                                                        C   Husband, Wife, Joint, or Community                         C    U   D     AMOUNT OF
            CREDITOR'S NAME                             O                                                              O    N   I
                                                        D   H             DATE CLAIM WAS INCURRED,                     N    L   S        CLAIM
          AND MAILING ADDRESS                           E                                                              T    I   P       WITHOUT          UNSECURED
                                                            W               NATURE OF LIEN, AND                                                          PORTION, IF
           INCLUDING ZIP CODE,                          B
                                                                           DESCRIPTION AND VALUE
                                                                                                                       I    Q   U
                                                                                                                                       DEDUCTING
                                                        T   J                                                          N    U   T                           ANY
          AND ACCOUNT NUMBER                            O   C                   OF PROPERTY                            G    I   E       VALUE OF
             (See instructions.)                        R
                                                                               SUBJECT TO LIEN                         E    D   D     COLLATERAL
                                                                                                                       N    A
                                                                                                                       T    T
Account No. 0298                                                12/2006                                                     E
                                                                                                                            D

Bank of America Home Loans                                      First Mortgage
P.O Box 941633
Simi Valley, CA 93094-1633                                    9853-9855 Arabian Nights
                                                            - El Paso, TX 79924

                                                                Value $                                80,000.00                         98,841.00             18,841.00
Account No.                                                   2003
                                                              First Mortgage
Fraces Hornback                                               10117,10121, 10123 S. Main St.
18809 Pepperdine Drive                                        Los Angeles, CA 90003
                                                              Triplex Commercial building:
Carson, CA 90746
                                                            - in the name of Worldwide Ballistic, Inc.,
                                                              Ramon Carmona, Amador Carmona
                                                                Value $                               220,000.00                        300,000.00             80,000.00
Account No. xxxxxx4048                                          2007

M&T Bank                                                        First Mortgage
P.O. Box 1288
                                                              Commercial Property located at:
Buffalo, NY 14240-1288
                                                            - 10113, 10113 1/2 , 10115 S. Main Street
                                                              Los Angeles, CA 90003
                                                                Value $                               170,000.00                        205,000.00             35,000.00
Account No. xxxxxx6910                                          12/2006

One West Bank                                                   First Mortgage
6900 Beatrice Drive
                                                              881 E. 41st Street
Kalamazoo, MI 49009
                                                            - Los Angeles, CA 90011
                                                              Fourplex
                                                                Value $                               290,000.00                        499,642.00           209,642.00
Account No.                                                     Vacant Land #3- Mexico
                                                                de Lote 30 Manzana Punta Azul,
Punt Azul                                                       Rosarito, BC (Mexico)
P.O. Box 1730
Chula Vista, CA 91912
                                                            -

                                                                Value $                                24,000.00                            6,000.00                   0.00
       1
Sheet _____    2
            of _____  continuation sheets attached to                                                               Subtotal
                                                                                                                                      1,109,483.00           343,483.00
Schedule of Creditors Holding Secured Claims                                                               (Total of this page)




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 B6D (Official Form 6D) (12/07) - Cont.




  In re         Hortensia Carmona                                                                                         Case No.
                                                                                                             ,
                                                                                             Debtor


                                 SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                 (Continuation Sheet)

                                                        C   Husband, Wife, Joint, or Community                        C    U   D     AMOUNT OF
            CREDITOR'S NAME                             O                                                             O    N   I
                                                        D   H             DATE CLAIM WAS INCURRED,                    N    L   S        CLAIM
          AND MAILING ADDRESS                           E                                                             T    I   P       WITHOUT        UNSECURED
                                                            W               NATURE OF LIEN, AND                                                       PORTION, IF
           INCLUDING ZIP CODE,                          B
                                                                           DESCRIPTION AND VALUE
                                                                                                                      I    Q   U
                                                                                                                                      DEDUCTING
                                                        T   J                                                         N    U   T                         ANY
          AND ACCOUNT NUMBER                            O   C                   OF PROPERTY                           G    I   E       VALUE OF
             (See instructions.)                        R
                                                                               SUBJECT TO LIEN                        E    D   D     COLLATERAL
                                                                                                                      N    A
                                                                                                                      T    T
Account No. 0333                                                10/2006                                                    E
                                                                                                                           D

Wells Fargo Home Mortgage                                       First Mortgage
P.O. Box 10335
Des Moines, IA 50306                                          1503 N. Frances Street
                                                            - Terrell, TX 75160

                                                                Value $                               25,000.00                         47,994.00           22,994.00
Account No.




                                                                Value $
Account No.




                                                                Value $
Account No.




                                                                Value $
Account No.




                                                                Value $
       2
Sheet _____    2
            of _____  continuation sheets attached to                                                              Subtotal
                                                                                                                                        47,994.00           22,994.00
Schedule of Creditors Holding Secured Claims                                                              (Total of this page)
                                                                                                                     Total           1,680,278.72         500,648.72
                                                                                           (Report on Summary of Schedules)

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B6E (Official Form 6E) (4/10)


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 In re         Hortensia Carmona                                                                                                  Case No.
                                                                                                                     ,
                                                                                               Debtor

                  SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
          A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
    to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
    account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
    continuation sheet for each type of priority and label each with the type of priority.
          The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
    so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
    Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
          If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
    schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
    liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
    column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
    "Disputed." (You may need to place an "X" in more than one of these three columns.)
          Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
    "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
          Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
    listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
    also on the Statistical Summary of Certain Liabilities and Related Data.
          Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
    priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
    total also on the Statistical Summary of Certain Liabilities and Related Data.

         Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

    TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
         Domestic support obligations
        Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
    of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

         Extensions of credit in an involuntary case
        Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
    trustee or the order for relief. 11 U.S.C. § 507(a)(3).

         Wages, salaries, and commissions
        Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
    representatives up to $11,725* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
    occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

         Contributions to employee benefit plans
       Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
    whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

         Certain farmers and fishermen
         Claims of certain farmers and fishermen, up to $5,775* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

         Deposits by individuals
        Claims of individuals up to $2,600* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
    delivered or provided. 11 U.S.C. § 507(a)(7).

         Taxes and certain other debts owed to governmental units
         Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

         Commitments to maintain the capital of an insured depository institution
       Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
    Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

         Claims for death or personal injury while debtor was intoxicated
       Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
    another substance. 11 U.S.C. § 507(a)(10).




    * Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                            0         continuation sheets attached
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 B6F (Official Form 6F) (12/07)


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  In re         Hortensia Carmona                                                                                        Case No.
                                                                                                               ,
                                                                                             Debtor


               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
 parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
 include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


      Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                     C    Husband, Wife, Joint, or Community                                C   U   D
                  CREDITOR'S NAME,                                   O                                                                      O   N   I
                  MAILING ADDRESS                                    D    H                                                                 N   L   S
                INCLUDING ZIP CODE,                                  E                DATE CLAIM WAS INCURRED AND                           T   I   P
                                                                          W
               AND ACCOUNT NUMBER
                                                                     B              CONSIDERATION FOR CLAIM. IF CLAIM                       I   Q   U
                                                                                                                                                        AMOUNT OF CLAIM
                                                                     T    J                                                                 N   U   T
                                                                     O                IS SUBJECT TO SETOFF, SO STATE.                       G   I   E
                 (See instructions above.)                           R
                                                                          C
                                                                                                                                            E   D   D
                                                                                                                                            N   A
Account No. 8863                                                              Another Creditor address Notice only                          T   T
                                                                                                                                                E
                                                                                                                                                D

America Express
PO Box 105278                                                             -
Atlanta, GA 30348

                                                                                                                                                                             0.00
Account No. 8363                                                              credit card

American Express
P.O. Box 981537                                                           -
El Paso, TX 79998

                                                                                                                                                                         967.00
Account No.                                                                   Credit Card

Asset Acceptance Llc
P.O. Box 2036                                                             -                                                                         X
Warren, IL 48090-2036

                                                                                                                                                                         117.00
Account No.                                                                   Attorneys for Wells Fargo
                                                                              Case No. 2:11-35036
Austin P. Nagel
111 Deerwood Road, Suite 305                                              -                                                                         X
San Ramon, CA 94583

                                                                                                                                                                             0.00

                                                                                                                                        Subtotal
 2
_____ continuation sheets attached                                                                                                                                     1,084.00
                                                                                                                              (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




  In re         Hortensia Carmona                                                                                  Case No.
                                                                                                               ,
                                                                                             Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                     B                                                            I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No. 8490                                                              7/2009                                                  E
                                                                              Credit Card                                             D

Chase Bank
P.O. Box 15298                                                            -
Wilmington, DE 19850

                                                                                                                                                          4,300.00
Account No.                                                                   Collections for Captial One, N.A.

Creditors Bankruptcy
P.O. Box 740933                                                           -
Dallas, TX 75374

                                                                                                                                                            663.00
Account No.                                                                   Credit Card

Discovery Bank
DB Servicing Corporation                                                  -                                                               X
P.O. Box 3025
New Albany, OH 43054-3025
                                                                                                                                                            450.00
Account No.                                                                   Requesting Special Notice

Edward T. Weber
Routh, Crabtree Olsen PS                                                  -
1241 E. Dyer Rd. #250
Santa Ana, CA 92705
                                                                                                                                                                0.00
Account No.                                                                   Credit Card

Kohl's
P.O. Box 30510                                                            -
Los Angeles, CA 90030

                                                                                                                                                            691.00

           1
Sheet no. _____     2
                of _____ sheets attached to Schedule of                                                                         Subtotal
                                                                                                                                                          6,104.00
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




  In re         Hortensia Carmona                                                                                        Case No.
                                                                                                                ,
                                                                                             Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                             C   U   D
                  CREDITOR'S NAME,                                   O                                                                   O   N   I
                  MAILING ADDRESS                                    D    H                                                              N   L   S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                        T   I   P
                                                                     B                                                                   I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM                    N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.                    G   I   E
                 (See instructions above.)                           R                                                                   E   D   D
                                                                                                                                         N   A
                                                                                                                                         T   T
Account No.                                                                   Credit Card                                                    E
                                                                                                                                             D

Macy's
P.O. Box 8217                                                             -
Mason, OH 45040

                                                                                                                                                                 2,817.00
Account No.                                                                   Attorneys for Bank of America
                                                                              Requesting Special Notice
Prober & Raphael, a Law Corp
20780 Ventura Blvd. #100                                                  -
Woodland Hills, CA 91364

                                                                                                                                                                       0.00
Account No.                                                                   Credit Card

Target National Bank
c/o Weinstein & Riley PS                                                  -
2001 Western Avenue, #400
Seattle, WA 98121
                                                                                                                                                                     93.00
Account No. 9153                                                              Credit Card

Wells Fargo Bank
c/o/ Recovery Dept.                                                       -
P.O. Box 9210
Des Moines, IA 50306
                                                                                                                                                                 6,826.00
Account No.




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Sheet no. _____     2
                of _____ sheets attached to Schedule of                                                                                Subtotal
                                                                                                                                                                 9,736.00
Creditors Holding Unsecured Nonpriority Claims                                                                               (Total of this page)
                                                                                                                                         Total
                                                                                                               (Report on Summary of Schedules)                16,924.00


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B6G (Official Form 6G) (12/07)


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 In re             Hortensia Carmona                                                                           Case No.
                                                                                                     ,
                                                                                   Debtor

                        SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
              Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
              of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
              complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
              state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
              disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                 Check this box if debtor has no executory contracts or unexpired leases.
                                                                                     Description of Contract or Lease and Nature of Debtor's Interest.
                  Name and Mailing Address, Including Zip Code,                           State whether lease is for nonresidential real property.
                      of Other Parties to Lease or Contract                                 State contract number of any government contract.

                    Carlos Meza & Elizabeth Torres                                      Fourplex property lease
                    881 E. 41st St #2
                    Los Angeles, CA 90011

                    Carmen Salazar                                                      Residential lease
                    20535 Kenwood Avenue
                    Torrance, CA 90502

                    Carolina Gonzalez, F. Vasquez                                       Commercial property lease
                    10113 S. Main
                    Los Angeles, CA 90003

                    Fred Vasquez & Carolina Gonzal                                      Property lease
                    10115 S. Main
                    Los Angeles, CA 90003

                    Isauro Mesa                                                         Fouplex property lease
                    881 E. 41st Street #4
                    Los Angeles, CA 90011

                    Jesus Arroyo                                                        Property lease (EvictionProcess)
                    9853 Arabian Nights
                    El Paso, TX 79924

                    Karen Sims                                                          Fourplex property lease
                    881 E. 41st St #1
                    Los Angeles, CA 90011

                    Kristine Angelic Brannon                                            Residential lease
                    1503 N. Fraces Street
                    Terrell, TX 75160

                    Maria Angelina Rodas                                                Fouplex property lease
                    881 E. 4st Street #3
                    Los Angeles, CA 90011

                    Mr. Florentino                                                      Duplex property lease
                    9855 Arabian Nights
                    El Paso, TX 79924

                    Nat Pimentel & Fran Cardenas                                        Residential lease
                    10113 1/2 S. Main St.
                    Los Angeles, CA 90003

                    Salvador Vega & Norma Vega                                          Duplex property lease
                    9859 Arabian Nights
                    El Paso, TX 79924



      1
                continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases
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 In re         Hortensia Carmona                                                                              Case No.
                                                                                                   ,
                                                                                  Debtor

                     SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                         (Continuation Sheet)


                                                                                    Description of Contract or Lease and Nature of Debtor's Interest.
              Name and Mailing Address, Including Zip Code,                              State whether lease is for nonresidential real property.
                  of Other Parties to Lease or Contract                                    State contract number of any government contract.
                  Veronica Aguilar                                                    Duplex property lease
                  9857 Arabian Nights
                  El Paso, TX 79924




    Sheet     1     of 1       continuation sheets attached to the Schedule of Executory Contracts and Unexpired Leases

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B6H (Official Form 6H) (12/07)


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 In re          Hortensia Carmona                                                                       Case No.
                                                                                              ,
                                                                            Debtor

                                                              SCHEDULE H - CODEBTORS
        Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
    by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
    commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
    Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
    any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
    by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
    state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
    disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
        Check this box if debtor has no codebtors.
                 NAME AND ADDRESS OF CODEBTOR                                    NAME AND ADDRESS OF CREDITOR




      0
              continuation sheets attached to Schedule of Codebtors
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B6I (Official Form 6I) (12/07)
 In re    Hortensia Carmona                                                                             Case No.
                                                                         Debtor(s)

                           SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.
Debtor's Marital Status:                                                  DEPENDENTS OF DEBTOR AND SPOUSE
                                        RELATIONSHIP(S):                                             AGE(S):
      Single                                 Daughter                                                    10
                                             Daughter                                                    3
                                             Sister                                                      43
Employment:                                          DEBTOR                                                        SPOUSE
Occupation                           Ultrasound Tech
Name of Employer                     Kaiser Permanente
How long employed                    13
Address of Employer                  1 Kaiser Plaza
                                     Suite 2600
                                     Oakland, CA 94612

INCOME: (Estimate of average or projected monthly income at time case filed)                                   DEBTOR                     SPOUSE
1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                            $      10,118.17         $            N/A
2. Estimate monthly overtime                                                                             $       1,540.00         $            N/A

3. SUBTOTAL                                                                                              $       11,658.17        $                 N/A


4. LESS PAYROLL DEDUCTIONS
     a. Payroll taxes and social security                                                                $         3,900.00       $                 N/A
     b. Insurance                                                                                        $             0.00       $                 N/A
     c. Union dues                                                                                       $             0.00       $                 N/A
     d. Other (Specify):                                                                                 $             0.00       $                 N/A
                                                                                                         $             0.00       $                 N/A

5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                        $         3,900.00       $                 N/A

6. TOTAL NET MONTHLY TAKE HOME PAY                                                                       $         7,758.17       $                 N/A

7. Regular income from operation of business or profession or farm (Attach detailed statement)           $            0.00        $                 N/A
8. Income from real property                                                                             $       11,481.00        $                 N/A
9. Interest and dividends                                                                                $            0.00        $                 N/A
10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or that of
      dependents listed above                                                                            $             0.00       $                 N/A
11. Social security or government assistance
(Specify):                                                                                               $             0.00       $                 N/A
                                                                                                         $             0.00       $                 N/A
12. Pension or retirement income                                                                         $             0.00       $                 N/A
13. Other monthly income
(Specify):                                                                                               $             0.00       $                 N/A
                                                                                                         $             0.00       $                 N/A

14. SUBTOTAL OF LINES 7 THROUGH 13                                                                       $       11,481.00        $                 N/A

15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                         $       19,239.17        $                 N/A

16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15)                                          $           19,239.17
                                                                                (Report also on Summary of Schedules and, if applicable, on
                                                                                Statistical Summary of Certain Liabilities and Related Data)
 17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
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B6J (Official Form 6J) (12/07)
 In re    Hortensia Carmona                                                                   Case No.
                                                                  Debtor(s)

         SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
    Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time
case filed. Prorate any payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly
expenses calculated on this form may differ from the deductions from income allowed on Form 22A or 22C.

    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
expenditures labeled "Spouse."
1. Rent or home mortgage payment (include lot rented for mobile home)                                       $                 1,100.00
 a. Are real estate taxes included?                            Yes                No X
 b. Is property insurance included?                            Yes                No X
2. Utilities:      a. Electricity and heating fuel                                                          $                    50.00
                   b. Water and sewer                                                                       $                    50.00
                   c. Telephone                                                                             $                     0.00
                   d. Other Cell, Internet and Cable                                                        $                   310.00
3. Home maintenance (repairs and upkeep)                                                                    $                   100.00
4. Food                                                                                                     $                   700.00
5. Clothing                                                                                                 $                   200.00
6. Laundry and dry cleaning                                                                                 $                    50.00
7. Medical and dental expenses                                                                              $                    40.00
8. Transportation (not including car payments)                                                              $                   400.00
9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                         $                   150.00
10. Charitable contributions                                                                                $                    50.00
11. Insurance (not deducted from wages or included in home mortgage payments)
                   a. Homeowner's or renter's                                                               $                     0.00
                   b. Life                                                                                  $                    80.00
                   c. Health                                                                                $                     0.00
                   d. Auto                                                                                  $                   190.00
                   e. Other See Detailed Expense Attachment                                                 $                   300.33
12. Taxes (not deducted from wages or included in home mortgage payments)
                 (Specify) Investment Property                                                               $                  150.00
13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the
plan)
                   a. Auto                                                                                  $                     0.00
                   b. Other See Detailed Expense Attachment                                                 $                12,563.00
14. Alimony, maintenance, and support paid to others                                                        $                     0.00
15. Payments for support of additional dependents not living at your home                                   $                   400.00
16. Regular expenses from operation of business, profession, or farm (attach detailed statement)            $                     0.00
17. Other See Detailed Expense Attachment                                                                   $                 1,105.66

18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,                    $                17,988.99
if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year
following the filing of this document:

20. STATEMENT OF MONTHLY NET INCOME
a. Average monthly income from Line 15 of Schedule I                                                        $                19,239.17
b. Average monthly expenses from Line 18 above                                                              $                17,988.99
c. Monthly net income (a. minus b.)                                                                         $                 1,250.18
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B6J (Official Form 6J) (12/07)
 In re    Hortensia Carmona                                                      Case No.
                                                             Debtor(s)

                  SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                             Detailed Expense Attachment
Other Insurance Expenditures:
Liability Insurance for 9853 & 9857 Arabian Nights                                          $                   75.00
Insurance 10113-10113 1/2-10115 Main                                                        $                  160.75
Umbrella Insurance                                                                          $                   58.00
Liability Insurance for 1503 N. Frances St, TX                                              $                    6.58
Total Other Insurance Expenditures                                                          $                  300.33




Other Installment Payments:
881 E. 41st. Street 1st Lien Mortgage                                                       $              2,534.00
10113-11015 S. Main Street 1st Lien Mortgage                                                $              2,046.00
20535 Kenwood Ave. 1st Lien Mortgage                                                        $              3,070.00
9853-9855 Arabian Nights First Lien Mortgage                                                $              1,019.00
9857-9859 Arabian Nights 1st Lien Mortgage                                                  $              1,039.00
1503 N. Frances Street 1st Lien Mortgage                                                    $                590.00
Property Management Fee                                                                     $                323.00
Maintenance - California Properties                                                         $              1,379.00
Apartment Owners Associations -CA Properties                                                $                  8.00
Vacant Land Mortgage at Punta Azul                                                          $                492.00
Maintenance Fees for vacant losts at Punta Azul and Valles                                  $                 50.00
HOA Fees for Duchesne vacant Land                                                           $                 13.00
Total Other Installment Payments                                                            $             12,563.00


Other Expenditures:
Malpractice Insurance                                                                       $                    9.00
Disability Income Insurance                                                                 $                   42.00
Daughter's Private School                                                                   $                  500.00
License Fees                                                                                $                   29.00
Society Membership Fees                                                                     $                   24.00
Seminars                                                                                    $                   25.00
Terminex (3 properties)                                                                     $                  100.00
After School Tutoring, Sports                                                               $                  300.00
P.O. Box                                                                                    $                   10.00
Teminex Texas property                                                                      $                   66.66
Total Other Expenditures                                                                    $              1,105.66
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B6 Declaration (Official Form 6 - Declaration). (12/07)
                                                          United States Bankruptcy Court
                                                               Southern District of California
 In re      Hortensia Carmona                                                                              Case No.
                                                                                   Debtor(s)               Chapter    11




                                      DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of         21
            sheets, and that they are true and correct to the best of my knowledge, information, and belief.




 Date June 20, 2012                                                    Signature   /s/ Hortensia Carmona
                                                                                   Hortensia Carmona
                                                                                   Debtor

    Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                     18 U.S.C. §§ 152 and 3571.




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B7 (Official Form 7) (04/10)



                                                          United States Bankruptcy Court
                                                               Southern District of California
 In re       Hortensia Carmona                                                                                 Case No.
                                                                                Debtor(s)                      Chapter        11

                                                   STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11
U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.


                                                                              DEFINITIONS

          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of
the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be "in business"
for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the
debtor's primary employment.

          "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or
equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11
U.S.C. § 101.


               1. Income from employment or operation of business

    None       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
               business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
               year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
               calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
               report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                          AMOUNT                            SOURCE
                          $62,652.25                        2012 YTD: Debtor Employment Income
                          $107,641.00                       2011: Debtor Employment Income
                          $121,516.00                       2010 Debtor Employment

               2. Income other than from employment or operation of business

    None       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
               during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                          AMOUNT                            SOURCE
                          $38,700.00                        2012 YTD: Debtor Rental Income

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                        AMOUNT                              SOURCE
                        $104,940.00                         2011: Debtor Rental Income
                        $97,094.00                          2010: Debtor Rental Income
                        $104,659.00                         2009: Debtor Rental Income

              3. Payments to creditors

     None     Complete a. or b., as appropriate, and c.

              a. Individual or joint debtor(s) with primarily consumer debts. List all payments on loans, installment purchases of goods or services,
              and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless the aggregate value
              of all property that constitutes or is affected by such transfer is less than $600. Indicate with an (*) any payments that were made to a
              creditor on account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved
              nonprofit budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by
              either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

    NAME AND ADDRESS                                                    DATES OF                                                       AMOUNT STILL
       OF CREDITOR                                                      PAYMENTS                             AMOUNT PAID                 OWING

     None     b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
              immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such
              transfer is less than $5,850*. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on
              account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit
              budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments and other
              transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
              filed.)

                                                                                                                  AMOUNT
                                                                        DATES OF                                   PAID OR
                                                                        PAYMENTS/                                VALUE OF              AMOUNT STILL
    NAME AND ADDRESS OF CREDITOR                                        TRANSFERS                               TRANSFERS                OWING

     None     c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
              creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
              spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

    NAME AND ADDRESS OF CREDITOR AND                                                                                                   AMOUNT STILL
         RELATIONSHIP TO DEBTOR                                         DATE OF PAYMENT                      AMOUNT PAID                 OWING

              4. Suits and administrative proceedings, executions, garnishments and attachments

     None     a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
              this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
              whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

    CAPTION OF SUIT                                                    NATURE OF         COURT OR AGENCY                                 STATUS OR
    AND CASE NUMBER                                                    PROCEEDING        AND LOCATION                                    DISPOSITION

     None     b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
              preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
              property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
              filed.)

    NAME AND ADDRESS OF PERSON FOR WHOSE                                                    DESCRIPTION AND VALUE OF
       BENEFIT PROPERTY WAS SEIZED                                     DATE OF SEIZURE             PROPERTY




*   Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

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             5. Repossessions, foreclosures and returns

   None      List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
             returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
             or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
             spouses are separated and a joint petition is not filed.)

                                                                 DATE OF REPOSSESSION,
NAME AND ADDRESS OF                                                FORECLOSURE SALE,         DESCRIPTION AND VALUE OF
 CREDITOR OR SELLER                                               TRANSFER OR RETURN                 PROPERTY

             6. Assignments and receiverships

   None      a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
             this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
             joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                               DATE OF
NAME AND ADDRESS OF ASSIGNEE                                   ASSIGNMENT                    TERMS OF ASSIGNMENT OR SETTLEMENT

   None      b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
             preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
             property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
             filed.)

                                                          NAME AND LOCATION
NAME AND ADDRESS                                               OF COURT                        DATE OF            DESCRIPTION AND VALUE OF
  OF CUSTODIAN                                            CASE TITLE & NUMBER                  ORDER                    PROPERTY

             7. Gifts

   None      List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
             and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
             aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
             either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

  NAME AND ADDRESS OF                                     RELATIONSHIP TO                                            DESCRIPTION AND
PERSON OR ORGANIZATION                                     DEBTOR, IF ANY                    DATE OF GIFT             VALUE OF GIFT

             8. Losses

   None      List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
             since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
             spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                         DESCRIPTION OF CIRCUMSTANCES AND, IF
DESCRIPTION AND VALUE                                                    LOSS WAS COVERED IN WHOLE OR IN PART
    OF PROPERTY                                                             BY INSURANCE, GIVE PARTICULARS                     DATE OF LOSS

             9. Payments related to debt counseling or bankruptcy

   None      List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
             concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
             preceding the commencement of this case.

                                                                          DATE OF PAYMENT,                              AMOUNT OF MONEY
NAME AND ADDRESS                                                       NAME OF PAYOR IF OTHER                       OR DESCRIPTION AND VALUE
    OF PAYEE                                                                 THAN DEBTOR                                   OF PROPERTY
Law Office of Andrew H. Griffin, III                                   3/17/2012                                   $10,000.00
275 E. Douglas Ave. Ste. 112
El Cajon, CA 92020




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                                                                          DATE OF PAYMENT,                                AMOUNT OF MONEY
NAME AND ADDRESS                                                       NAME OF PAYOR IF OTHER                         OR DESCRIPTION AND VALUE
    OF PAYEE                                                                 THAN DEBTOR                                    OF PROPERTY
Abacus Credit Counseling                                               5/07/2012                                     $25.00
15760 Ventura Boulevard
Suite 1240
Encino, CA 91436

             10. Other transfers

   None      a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
             transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
             filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
             spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF TRANSFEREE,                                                                DESCRIBE PROPERTY TRANSFERRED
    RELATIONSHIP TO DEBTOR                                             DATE                           AND VALUE RECEIVED

   None      b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
             trust or similar device of which the debtor is a beneficiary.

NAME OF TRUST OR OTHER                                                                         AMOUNT OF MONEY OR DESCRIPTION AND
DEVICE                                                                 DATE(S) OF              VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                       TRANSFER(S)             IN PROPERTY

             11. Closed financial accounts

   None      List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
             otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
             financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
             cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
             include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
             unless the spouses are separated and a joint petition is not filed.)

                                                                         TYPE OF ACCOUNT, LAST FOUR
                                                                         DIGITS OF ACCOUNT NUMBER,                    AMOUNT AND DATE OF SALE
NAME AND ADDRESS OF INSTITUTION                                         AND AMOUNT OF FINAL BALANCE                          OR CLOSING

             12. Safe deposit boxes

   None      List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
             immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
             depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
             filed.)

                                                      NAMES AND ADDRESSES
NAME AND ADDRESS OF BANK                              OF THOSE WITH ACCESS                      DESCRIPTION                   DATE OF TRANSFER OR
 OR OTHER DEPOSITORY                                  TO BOX OR DEPOSITORY                      OF CONTENTS                    SURRENDER, IF ANY

             13. Setoffs

   None      List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
             commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
             spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF CREDITOR                                           DATE OF SETOFF                                 AMOUNT OF SETOFF

             14. Property held for another person

   None      List all property owned by another person that the debtor holds or controls.




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NAME AND ADDRESS OF OWNER                             DESCRIPTION AND VALUE OF PROPERTY                 LOCATION OF PROPERTY

             15. Prior address of debtor

   None      If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
             occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
             address of either spouse.

ADDRESS                                                                NAME USED                                     DATES OF OCCUPANCY

             16. Spouses and Former Spouses

   None      If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
             Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the
             commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
             the community property state.

NAME

             17. Environmental Information.

             For the purpose of this question, the following definitions apply:

             "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
             or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to,
             statutes or regulations regulating the cleanup of these substances, wastes, or material.

                   "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly
                   owned or operated by the debtor, including, but not limited to, disposal sites.

                   "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
                   pollutant, or contaminant or similar term under an Environmental Law

   None      a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable
             or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known,
             the Environmental Law:

                                                      NAME AND ADDRESS OF                      DATE OF                      ENVIRONMENTAL
SITE NAME AND ADDRESS                                 GOVERNMENTAL UNIT                        NOTICE                       LAW

   None      b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
             Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                      NAME AND ADDRESS OF                      DATE OF                      ENVIRONMENTAL
SITE NAME AND ADDRESS                                 GOVERNMENTAL UNIT                        NOTICE                       LAW

   None      c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
             the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
             docket number.

NAME AND ADDRESS OF
GOVERNMENTAL UNIT                                                      DOCKET NUMBER                                 STATUS OR DISPOSITION




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                                                                                                                                                             6

             18 . Nature, location and name of business

   None      a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
             ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
             partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years
             immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
             within six years immediately preceding the commencement of this case.

             If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
             ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six
             years immediately preceding the commencement of this case.

             If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
             ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
             years immediately preceding the commencement of this case.

                                LAST FOUR DIGITS OF
                                SOCIAL-SECURITY OR
                                OTHER INDIVIDUAL
                                TAXPAYER-I.D. NO.                                                                                BEGINNING AND
NAME                            (ITIN)/ COMPLETE EIN             ADDRESS                        NATURE OF BUSINESS               ENDING DATES
World Wide Ballistic,           4214                             10113 S. Main Street           Real Estate                      December 16, 2002 to
Inc.                                                             Los Angeles, CA 90003                                           Present

   None      b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.


NAME                                                                   ADDRESS


    The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor, or self-employed in a trade, profession, or other activity, either full- or part-time.

     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)

             19. Books, records and financial statements

   None      a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
             supervised the keeping of books of account and records of the debtor.

NAME AND ADDRESS                                                                                         DATES SERVICES RENDERED

   None      b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books
             of account and records, or prepared a financial statement of the debtor.

NAME                                            ADDRESS                                                  DATES SERVICES RENDERED

   None      c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records
             of the debtor. If any of the books of account and records are not available, explain.

NAME                                                                                  ADDRESS

   None      d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
             issued by the debtor within two years immediately preceding the commencement of this case.

NAME AND ADDRESS                                                                               DATE ISSUED




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                                                                                                                                                              7

             20. Inventories

   None      a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
             and the dollar amount and basis of each inventory.

                                                                                                         DOLLAR AMOUNT OF INVENTORY
DATE OF INVENTORY                               INVENTORY SUPERVISOR                                     (Specify cost, market or other basis)

   None      b. List the name and address of the person having possession of the records of each of the two inventories reported in a., above.


                                                                                NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
DATE OF INVENTORY                                                               RECORDS

             21 . Current Partners, Officers, Directors and Shareholders

   None      a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.


NAME AND ADDRESS                                                       NATURE OF INTEREST                            PERCENTAGE OF INTEREST

   None      b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
             controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                         NATURE AND PERCENTAGE
NAME AND ADDRESS                                                       TITLE                             OF STOCK OWNERSHIP

             22 . Former partners, officers, directors and shareholders

   None      a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
             commencement of this case.

NAME                                                      ADDRESS                                                  DATE OF WITHDRAWAL

   None      b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
             immediately preceding the commencement of this case.

NAME AND ADDRESS                                                       TITLE                             DATE OF TERMINATION

             23 . Withdrawals from a partnership or distributions by a corporation

   None      If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation
             in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the
             commencement of this case.

NAME & ADDRESS                                                                                                       AMOUNT OF MONEY
OF RECIPIENT,                                                          DATE AND PURPOSE                              OR DESCRIPTION AND
RELATIONSHIP TO DEBTOR                                                 OF WITHDRAWAL                                 VALUE OF PROPERTY

             24. Tax Consolidation Group.

   None      If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated
             group for tax purposes of which the debtor has been a member at any time within six years immediately preceding the commencement
             of the case.

NAME OF PARENT CORPORATION                                                                          TAXPAYER IDENTIFICATION NUMBER (EIN)




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                                                                                                                                                                   8

             25. Pension Funds.

   None      If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as an
             employer, has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

NAME OF PENSION FUND                                                                                    TAXPAYER IDENTIFICATION NUMBER (EIN)


                             DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct.


Date June 20, 2012                                                     Signature   /s/ Hortensia Carmona
                                                                                   Hortensia Carmona
                                                                                   Debtor

                 Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




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                                                          United States Bankruptcy Court
                                                               Southern District of California
 In re       Hortensia Carmona                                                                                Case No.
                                                                               Debtor(s)                      Chapter       11

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.    Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor and that
      compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
      be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 10,000.00
             Prior to the filing of this statement I have received                                        $                 10,000.00
             Balance Due                                                                                  $                       0.00

2.    The source of the compensation paid to me was:
                  Debtor              Other (specify):         $10,000 into trust for the payment of attorney fees. Fees will be earned at the
                                                               rate of $295.00/hour. Fees and cost will be approved by the Court.

3.    The source of compensation to be paid to me is:
                  Debtor              Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

      a.    Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
      b.    Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
      c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
      d.    [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods.

6.    By agreement with the debtor(s), the above-disclosed fee does not include the following service:
              Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
              any other adversary proceeding.
                                                                       CERTIFICATION

      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

Dated:       June 20, 2012                                                    /s/ Andrew H. Griffin, III
                                                                              Andrew H. Griffin, III 108378
                                                                              Law Office of Andrew H. Griffin, III
                                                                              275 E. Douglas Ave. Ste. 112
                                                                              El Cajon, CA 92020
                                                                              619 440-5000 Fax: 619 440-5991
                                                                              Griffinlaw@mac.com




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B 201A (Form 201A) (11/11)



                                                 UNITED STATES BANKRUPTCY COURT
                                                 SOUTHERN DISTRICT OF CALIFORNIA
                                      NOTICE TO CONSUMER DEBTOR(S) UNDER § 342(b)
                                               OF THE BANKRUPTCY CODE
          In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1) Describes
briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of
bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney General
may examine all information you supply in connection with a bankruptcy case.

         You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the advice of an
attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot give you legal advice.

         Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to ensure that
you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the court of any changes in
your address. If you are filing a joint case (a single bankruptcy case for two individuals married to each other), and each spouse lists
the same mailing address on the bankruptcy petition, you and your spouse will generally receive a single copy of each notice mailed
from the bankruptcy court in a jointly-addressed envelope, unless you file a statement with the court requesting that each spouse
receive a separate copy of all notices.

1. Services Available from Credit Counseling Agencies
          With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy
relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and
provides assistance in performing a budget analysis. The briefing must be given within 180 days before the bankruptcy filing. The
briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet) and must be
provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator. The
clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies. Each debtor in a
joint case must complete the briefing.

          In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

           Chapter 7: Liquidation ($245 filing fee, $46 administrative fee, $15 trustee surcharge: Total Fee $306)
         Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors whose
debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted to
proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in some cases,
the United States trustee (or bankruptcy administrator), the trustee, or creditors have the right to file a motion requesting that the court
dismiss your case under § 707(b) of the Code. It is up to the court to decide whether the case should be dismissed.
         Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to take
possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
         The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it does, the
purpose for which you filed the bankruptcy petition will be defeated.
         Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still be
responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property settlement
obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or aircraft while intoxicated
from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty, or theft, or from a willful and
malicious injury, the bankruptcy court may determine that the debt is not discharged.

       Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
$46 administrative fee: Total fee $281)
           Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments over


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Form B 201A, Notice to Consumer Debtor(s)                                                                                         Page 2

a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the Bankruptcy
Code.
         Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them, using
your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.
         After completing the payments under your plan, your debts are generally discharged except for domestic support obligations;
most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.

           Chapter 11: Reorganization ($1000 filing fee, $46 administrative fee: Total fee $1046)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

           Chapter 12: Family Farmer or Fisherman ($200 filing fee, $46 administrative fee: Total fee $246)
         Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily from a
family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
          A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the United
States Trustee, the Office of the United States Attorney, and other components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this information is not
filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local rules of the court. The
documents and the deadlines for filing them are listed on Form B200, which is posted at
http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.




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B 201B (Form 201B) (12/09)
                                                          United States Bankruptcy Court
                                                               Southern District of California
 In re     Hortensia Carmona                                                                                 Case No.
                                                                                 Debtor(s)                   Chapter        11

                                 CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                     UNDER § 342(b) OF THE BANKRUPTCY CODE
                                                                       Certification of Debtor
           I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy
Code.
Hortensia Carmona                                                                  X /s/ Hortensia Carmona                        June 20, 2012
Printed Name(s) of Debtor(s)                                                         Signature of Debtor                          Date

Case No. (if known)                                                                X
                                                                                       Signature of Joint Debtor (if any)         Date




Instructions: Attach a copy of Form B 201 A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has NOT been made on the
Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor's attorney that the attorney has given the
notice to the debtor. The Declarations made by debtors and bankruptcy petition preparers on page 3 of Form B1 also include this certification.
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CSD 1008 [08/21/00]
Name, Address, Telephone No. & I.D. No.
Andrew H. Griffin, III 108378
275 E. Douglas Ave. Ste. 112
El Cajon, CA 92020
619 440-5000
108378

                     UNITED STATES BANKRUPTCY COURT
                    SOUTHERN DISTRICT OF CALIFORNIA
         325 West "F" Street, San Diego, California 92101-6991


In Re
Hortensia Carmona                                                                              BANKRUPTCY NO.



                                                                               Debtor.

                                                       VERIFICATION OF CREDITOR MATRIX

PART I (check and complete one):

     New petition filed. Creditor diskette required.                                                            TOTAL NO. OF CREDITORS:           19

     Conversion filed on               . See instructions on reverse side.
              Former Chapter 13 converting. Creditor diskette required.                                         TOTAL NO. OF CREDITORS:
              Post-petition creditors added. Scannable matrix required.
              There are no post-petition creditors. No matrix required.

     Amendment or Balance of Schedules filed concurrently with this original scannable matrix affecting Schedule of Debts and/or Schedule of
     Equity Security Holders. See instructions on reverse side.
                        Names and addresses are being ADDED.
                        Names and addresses are being DELETED.
                        Names and addresses are being CORRECTED.

PART II (check one):

     The above-named Debtor(s) hereby verifies that the list of creditors is true and correct to the best of my (our) knowledge.

     The above-named Debtor(s) hereby verifies that there are no post-petition creditors affected by the filing of the conversion of this case and that
     the filing of a matrix is not required.
Date: June 20, 2012                                                    /s/ Hortensia Carmona
                                                                       Hortensia Carmona
                                                                       Signature of Debtor




                                                      REFER TO INSTRUCTIONS ON REVERSE SIDE
CSD 1008
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CSD 1008 (Page 2) [08/21/00]
                                                                       INSTRUCTIONS

1)         Full compliance with Special Requirements for Mailing Addresses (CSD 1007) is required.

2)         A creditors matrix with Verification is required whenever the following occurs:

           a)          A new petition is filed. Diskette required.

           b)          A case is converted on or after SEPTEMBER 1, 2000. (See paragraph 4b concerning post-petition creditors.)

           c)          An amendment to a case on or after SEPTEMBER 1, 2000, which adds, deletes or changes creditor address information on the
                       debtor's Schedule of Debts and/or Schedule of Equity Security Holders. Scannable matrix format required.

3)         The scannable matrix must be originally typed or printed. It may not be a copy.

4)         CONVERSIONS:

           a)          When converting a Chapter 13 case filed before SEPTEMBER 1, 2000, to another chapter, ALL creditors must be listed on the
                       mailing matrix at the time of filing and accompanied by a Verification. Diskette required.

           b)          For Chapter 7, 11, or 12 cases converted on or after SEPTEMBER 1, 2000, only post-petition creditors need be listed on the
                       mailing matrix. The matrix and Verification must be filed with the post-petition schedule of debts and/or schedule of equity
                       security holders. If there are no post-petition creditors, only the verification form is required. Scannable matrix format required.

5)         AMENDMENTS AND BALANCE OF SCHEDULES:

           a)          Scannable matrix format required.

           b)          The matrix with Verification is a document separate from the amended schedules and may not be used to substitute for any
                       portion of the schedules. IT MUST BE SUBMITTED WITH THE AMENDMENT/BALANCE OF SCHEDULES.

           c)          Prepare a separate page for each type of change required: ADDED, DELETED, or CORRECTED. On the REVERSE side of
                       each matrix page, indicate which category that particular page belongs in. Creditors falling in the same category should be placed
                       on the same page in alphabetical order.

6)         Please refer to CSD 1007 for additional information on how to avoid matrix-related problems.




CSD 1008
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                         America Express
                         PO Box 105278
                         Atlanta, GA 30348



                         American Express
                         P.O. Box 981537
                         El Paso, TX 79998



                         American Express
                         P.O. Box 105278
                         Atlanta, GA 30348



                         Asset Acceptance Llc
                         P.O. Box 2036
                         Warren, IL 48090-2036



                         Austin P. Nagel
                         111 Deerwood Road, Suite 305
                         San Ramon, CA 94583



                         Bank of America Home Loans
                         P.O Box 941633
                         Simi Valley, CA 93094-1633



                         Bayview Loan Servicing
                         4425 Ponce De Leon Blvd.
                         5th Floor
                         Miami, FL 33146



                         Chase Bank
                         P.O. Box 15298
                         Wilmington, DE 19850



                         Creditors Bankruptcy
                         P.O. Box 740933
                         Dallas, TX 75374
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                     Discovery Bank
                     DB Servicing Corporation
                     P.O. Box 3025
                     New Albany, OH 43054-3025



                     Edward T. Weber
                     Routh, Crabtree Olsen PS
                     1241 E. Dyer Rd. #250
                     Santa Ana, CA 92705



                     Kohl's
                     P.O. Box 30510
                     Los Angeles, CA 90030



                     M&T Bank
                     P.O. Box 1288
                     Buffalo, NY 14240-1288



                     Macy's
                     P.O. Box 8217
                     Mason, OH 45040



                     One West Bank
                     6900 Beatrice Drive
                     Kalamazoo, MI 49009



                     Prober & Raphael, a Law Corp
                     20780 Ventura Blvd. #100
                     Woodland Hills, CA 91364



                     Target National Bank
                     c/o Weinstein & Riley PS
                     2001 Western Avenue, #400
                     Seattle, WA 98121



                     Wells Fargo Bank
                     c/o/ Recovery Dept.
                     P.O. Box 9210
                     Des Moines, IA 50306
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                     Wells Fargo Home Mortgage
                     P.O. Box 10335
                     Des Moines, IA 50306
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B22B (Official Form 22B) (Chapter 11) (12/10)
In re      Hortensia Carmona
                           Debtor(s)
Case Number:
                                      (If known)


                             CHAPTER 11 STATEMENT OF CURRENT MONTHLY INCOME
In addition to Schedules I and J, this statement must be completed by every individual Chapter 11 debtor, whether or not filing jointly. Joint debtors
may complete one statement only.

                                      Part I. CALCULATION OF CURRENT MONTHLY INCOME
            Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
     1      a.      Unmarried. Complete only Column A ("Debtor's Income") for Lines 2-10.
            b.      Married, not filing jointly. Complete only column A ("Debtor's Income") for Lines 2-10.
            c.      Married, filing jointly. Complete both Column A ("Debtor's Income") and Column B ("Spouse's Income") for Lines 2-10.
            All figures must reflect average monthly income received from all sources, derived during the six Column A        Column B
            calendar months prior to filing the bankruptcy case, ending on the last day of the month before
            the filing. If the amount of monthly income varied during the six months, you must divide the      Debtor's       Spouse's
            six-month total by six, and enter the result on the appropriate line.                              Income          Income

     2      Gross wages, salary, tips, bonuses, overtime, commissions.                                           $       10,118.17 $
            Net income from the operation of a business, profession, or farm. Subtract Line b from Line a
            and enter the difference in the appropriate column(s) of Line 3. If more than one business
            profession or farm, enter aggregate numbers and provide details on an attachment. Do not enter a
            number less than zero.
     3
                                                                        Debtor                 Spouse
             a.    Gross receipts                               $                0.00 $
             b.    Ordinary and necessary business expenses $                    0.00 $
             c.    Business income                              Subtract Line b from Line a                  $                 0.00 $
            Net Rental and other real property income. Subtract Line b from Line a and enter the
            difference in the appropriate column(s) of Line 4. Do not enter a number less than zero.
     4                                                                 Debtor                 Spouse
             a.    Gross receipts                               $         11,181.00 $
             b.    Ordinary and necessary operating expenses $             7,832.00 $
             c.    Rent and other real property income          Subtract Line b from Line a                      $        3,349.00 $
     5      Interest, dividends, and royalties.                                                                  $             0.00 $
     6      Pension and retirement income.                                                                       $             0.00 $
            Any amounts paid by another person or entity, on a regular basis, for the household
            expenses of the debtor or the debtor's dependents, including child support paid for that
     7      purpose. Do not include alimony or separate maintenance payments or amounts paid by the
            debtor's spouse if Column B is completed. Each regular payment should be reported in only one
            column; if a payment is listed in Column A, do not report that payment in Column B.                  $             0.00 $
            Unemployment compensation. Enter the amount in the appropriate column(s) of Line 8.
            However, if you contend that unemployment compensation received by you or your spouse was a
            benefit under the Social Security Act, do not list the amount of such compensation in Column A
     8      or B, but instead state the amount in the space below:
             Unemployment compensation claimed to
             be a benefit under the Social Security Act Debtor $             0.00 Spouse $                       $             0.00 $
            Income from all other sources. Specify source and amount. If necessary, list additional sources
            on a separate page. Total and enter on Line 9. Do not include alimony or separate maintenance
            payments paid by your spouse if Column B is completed, but include all other payments of
            alimony or separate maintenance. Do not include any benefits received under the Social
     9      Security Act or payments received as a victim of a war crime, crime against humanity, or as a
            victim of international or domestic terrorism.
                                                                        Debtor               Spouse
             a.                                                  $                      $
             b.                                                  $                      $                        $             0.00 $
    10      Subtotal of current monthly income. Add lines 2 thru 9 in Column A, and, if Column B is
            completed, add Lines 2 thru 9 in Column B. Enter the total(s).                                       $       13,467.17 $

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B22B (Official Form 22B) (Chapter 11) (12/10)                                                                                                     2

            Total current monthly income. If Column B has been completed, add Line 10, Column A to
    11      Line 10, Column B, and enter the total. If Column B has not been completed, enter the amount
            from Line 10, Column A.                                                                                 $                          13,467.17

                                                                       Part II. VERIFICATION
            I declare under penalty of perjury that the information provided in this statement is true and correct. (If this is a joint case, both debtors
            must sign.)
    12                    Date: June 20, 2012                                           Signature: /s/ Hortensia Carmona
                                                                                                     Hortensia Carmona
                                                                                                                (Debtor)




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B22B (Official Form 22B) (Chapter 11) (12/10)                                                                              3


                                               Current Monthly Income Details for the Debtor

Debtor Income Details:
Income for the Period 12/01/2011 to 05/31/2012.

Line 2 - Gross wages, salary, tips, bonuses, overtime, commissions
Source of Income: Kaiser Permanente
Income by Month:
 6 Months Ago:                              12/2011               $10,059.99
 5 Months Ago:                              01/2012               $10,100.00
 4 Months Ago:                              02/2012               $10,100.00
 3 Months Ago:                              03/2012               $10,100.00
 2 Months Ago:                              04/2012               $10,200.00
 Last Month:                                05/2012               $10,149.00
                             Average per month:                   $10,118.17




Line 4 - Rent and other real property income
Source of Income: 1503 N. Frances Street
Constant income of 695.00 per month.
Constant expense of 590.00 per month.
Net Income 105.00 per month.



Line 4 - Rent and other real property income
Source of Income: 9857-9859 Arabian Nights
Constant income of 1,400.00 per month.
Constant expense of 1,039.00 per month.
Net Income 361.00 per month.



Line 4 - Rent and other real property income
Source of Income: 9853-9855 Arabian Nights
Constant income of 1,310.00 per month.
Constant expense of 1,057.00 per month.
Net Income 253.00 per month.



Line 4 - Rent and other real property income
Source of Income: 881 E. 41st Street, Unit 1, 2, 3, 4
Constant income of 3,941.00 per month.
Constant expense of 2,900.00 per month.
Net Income 1,041.00 per month.



Line 4 - Rent and other real property income
Source of Income: 10113-10115 S. Main Street
Constant income of 2,335.00 per month.
Constant expense of 2,146.00 per month.
Net Income 189.00 per month.




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B22B (Official Form 22B) (Chapter 11) (12/10)                                                                                      4
Line 4 - Rent and other real property income
Source of Income: 20535 Kenwood Ave. Torrance, CA
Income/Expense/Net by Month:
                          Date                                         Income                    Expense                    Net
 6 Months Ago:                  12/2011                                     $1,800.00                   $100.00                   $1,700.00
 5 Months Ago:                  01/2012                                     $1,800.00                   $100.00                   $1,700.00
 4 Months Ago:                  02/2012                                     $1,800.00                   $100.00                   $1,700.00
 3 Months Ago:                  03/2012                                     $1,800.00                   $100.00                   $1,700.00
 2 Months Ago:                  04/2012                                     $1,800.00                   $100.00                   $1,700.00
 Last Month:                    05/2012                                         $0.00                   $100.00                    $-100.00
                      Average per month:                                    $1,500.00                   $100.00
                                                                                        Average Monthly NET Income:               $1,400.00




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